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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION



 DISPLAY TECHNOLOGIES, LLC,                         Case No. 2:17-CV-070-JRG-RSP

        Plaintiff,

        v.                                          LEAD CASE

                                                    JURY TRIAL DEMANDED
 HTC AMERICA, INC.,

        Defendant.

 DISPLAY TECHNOLOGIES, LLC,                         Case No. 2:17-CV-068-JRG-RSP

        Plaintiff,

        v.                                          JURY TRIAL DEMANDED

 ZTE (USA) INC.,

        Defendant.

                       ZTE (USA)’S NOTICE OF COMPLIANCE WITH
                     PARAGRAPHS 1 AND 3 OF THE DISCOVERY ORDER

        Defendant, ZTE (USA) Inc. (“ZTE USA”) by and through its undersigned counsel,

 hereby gives notice that it served upon Plaintiff’s counsel its Initial and Additional Disclosures

 pursuant to Paragraphs 1 and 3 of the Discovery Order.
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                                                 Respectfully submitted,


                                                 /s/ Scott R. Miller
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                                                 Counsel for Defendant, ZTE (USA) Inc.



                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was served through

 the CM/ECF system on this 28th day of June, 2017, on all counsel of record in accordance with

 the Federal Rules of Civil Procedure.

                                             /s/ Scott R. Miller
                                             Scott R. Miller




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